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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

     WILMA ORMBSY,                                    §
         Plaintiff,                                   §
                                                      §
     v.                                               §
                                                      §    CIVIL ACTION NO. _________________
     ALLSTATE INSURANCE COMPANY,                      §
          Defendant.                                  §

                            PLAINTIFF’S ORIGINAL COMPLAINT

           Plaintiff, WILMA ORMSBY (“Ormsby” or “Plaintiff”) by and through its attorneys, Merlin

 Law Group, P.A., brings this complaint against Allstate Insurance Company (collectively

 referenced herein as “Allstate” or “Defendant”) for breach of the flood insurance contract issued

 by Allstate pursuant to the National Flood Insurance Program (“NFIP”). Plaintiff alleges the

 following upon information and belief:


                                               PARTIES

1.        Plaintiff, Wilma Ormsby, is an individual who resides and is domiciled in Texas in this

judicial district. Plaintiff’s property, located at the address below, (the “Property”) was insured by

Allstate against flood damages:

 Wilma Ormsby          4434 Wigton Drive       Houston      TX.     77096     Policy No. #
                                                                              4806429051

2.        Defendant Texas Allstate Insurance Company is a fully owned subsidiary of Allstate

Insurance Group, which was and is a private insurance company incorporated under the laws of

Illinois, doing business in Texas with its principal place of business located at 3075 Sanders Road,

Suite H1a, Northbrook, Illinois 60062. Allstate is a “Write Your Own” (“WYO”) insurance

company participating in the National Flood Insurance Program (“NFIP”) pursuant to the National

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Flood Insurance Act (“NFIA” or “the Act”), as amended 42 U.S.C. § 4001. Pursuant to 44 C.F.R.

Section 62.23(d) and (i)(6), Allstate was and is responsible for arranging the adjustment,

settlement, payment and defense of all claims arising under the Policy.

                                          JURISDICTION

3.      This action arises as a result of Defendant’s denial and/or underpayment Plaintiff’s flood

insurance claim governed by the flood insurance Policy that Defendant issued to Plaintiff in its

capacity as a WYO company under the National Flood Insurance Act (“NFIA” or “the Act”),

federal regulations and common law, and the flood insurance Policy. The Policy covered losses to

Plaintiff’s property (“Property”) and personal property (“Contents”) located in this judicial district.

4.      Federal courts have exclusive jurisdiction pursuant to 42 U.S.C. § 4072 over all disputed

claims under an NFIP Policy issued pursuant to the Act, without regard to the amount in

controversy, or whether brought against the government or a WYO company.

5.      This Court has original, exclusive jurisdiction to hear this action pursuant 42 U.S.C. § 4072

because the insured Property is located in this judicial district.

6.      This Court also has original jurisdiction pursuant to 28 U.S.C. § 1331 because this action

requires the application of federal statutes and regulations and involves substantial questions of

federal law.

                                               VENUE

7.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 and 42 U.S.C. § 4072

because it is where Plaintiff’s Property is located and where a substantial part of the events at

issue took place.




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                                  FACTUAL ALLEGATIONS

8.     Plaintiff, Wilma Ormsby, has owned and lived in her home at 4434 Wigton Drive,

Houston, Texas 77096 for over thirty (30) years. The Ormsby home and personal property within

the home was well maintained and nicely furnished.

9.     Defendant Allstate (“Defendant” or “Allstate”) sold and issued a Standard Flood Insurance

Policy to Plaintiff covering Plaintiff’s home for up to $220,000.00 and her personal property

(“Contents”) for up to $73,500.00 in coverage.

10.    On or about August 27, 2017, Hurricane Harvey (the “Storm”) made landfall in Texas,

causing widespread devastation and severely damaging homes and businesses throughout the

Houston metropolitan area. Hurricane Harvey caused unprecedented levels of rainfall, which led

to severe flooding that overwhelmed the Houston community. Plaintiff Wilma Ormsby’s home

and contents were inundated and destroyed by flood waters.

11.    On or by August 28, 2017, Plaintiff’s Property was inundated by contaminated black flood

waters, several feet of which flowed throughout the exterior & interior of her home and remained

for days ultimately destroying her Property and Contents. The flood waters severely damaged

and/or destroyed Plaintiff’s flooring, walls, insulation, exterior, sheetrock, framing, doors,

cabinets, and fixtures throughout the home, and her valued Contents, including but not limited to

furniture, chairs, books, kitchen appliances and utensils, and closets full of clothes, shoes, towels

and bed sheets were lost. The home was so damaged that Plaintiff had to move out of it completely

and remains displaced today.

12.    All property, both personal property and real property, that suffered a direct-physical loss

and was damaged by the contaminated flood waters must be fully repaired and/or replaced to a

pre-flood condition.


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13.    Plaintiffs submitted a claim to her insurer, Allstate for flood damage to her Property and

Contents. Plaintiff duly performed and fully complied with all conditions of the Policy. On or

about September 11, 2017, Allstate assigned Mark Jones (“Jones”) and/or David Maylor

(“Maylor”) as the adjuster(s) entrusted to accurately adjust Plaintiff’s claim and properly assess

the flood damages. On or about September 15, 2017, Maylor inspected the Property and observed

the extensive flood damage throughout Plaintiff’s Property and Contents. Maylor drafted an

estimate for the cost to repair and/or replace Plaintiff’s flood damages. However, Maylor failed to

apply and incorporate local Houston prices for the damage repairs. Further, Maylor’s estimate

grossly undervalued flood damaged items, and failed to include an adequate scope, as well as

sufficient damage repair/replacement amounts. Similarly, rather than allowing for removal and

replacement of flood damaged property per the Policy, Maylor’s estimate only allowed for

detaching, cleaning, and resetting the various fixtures (such as the toilets, sinks, and shower/tubs)

in Plaintiff’s restroom facilities that were submerged in black flood water for days. The

aforementioned items are just a few examples of the significant pricing and scope discrepancies

between what Maylor scoped and priced in the Allstate estimate, and those determined based on

local Houston post-Harvey prices.

14.    Ultimately, rather than recommending a proper and sufficient payment under the terms of

the Policy, FEMA, and the law otherwise, Allstate and its personnel severely undervalued,

underestimated, and underpaid Plaintiff’s flood claim.

15.    Allstate failed to properly ensure that its adjuster, Maylor, was properly trained in the

evaluation and scoping of flood damages and failed to adequately oversee Maylor’s work. This is

evident in light of the fact that Allstate and/or Jones reviewed the photographs showing the severity

of flood damages, and Maylor’s estimate of the same, and then approved Maylor’s subpar estimate



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knowing that it failed to adequately scope and value Plaintiff’s damages.

16.    Allstate is ultimately responsible for the adjustment and assessment of Plaintiff’s flood

claim. Defendant Allstate accepted and adopted Maylor’s inadequate assessment of Plaintiff’s

Property and Contents damage claim. Defendant Allstate totally failed to properly train Jones

and/or Maylor, and ensure that they knew the proper assessment guidelines and knowledge needed

to conduct a flood damage evaluation under the NFIA and Policy. Further, Defendant Allstate

failed to exercise any oversight of Plaintiff’s claim, Defendant Allstate failed to review the work

of its assigned adjuster – as is evident by Defendant Allstate’ carte blanche approval of Maylor’s

estimate without its own detailed investigation of the same. Ultimately, Defendant Allstate and its

assigned personnel chose not to comply with the provisions and requirements of the Policy and

NFIP’s/FEMA’s policies, rules, regulations, and guidelines, which resulted in Plaintiff being

underpaid on their flood claim and damages.

17.    Plaintiff Wilma Ormsby disagreed with Allstate’s assessment and undervaluation of the

her flood damages. Specifically, Plaintiff objected to Defendant Allstate’s estimate and payment

for reasons including: that Defendant’s estimate and payment did not include or detail the full

scope of covered flood damages and necessary repairs; damages and items were undervalued,

omitted, or missing from Allstate’s estimate; Allstate’s adjuster used incorrect and/or inadequate

pricing that did not accurately reflect the repair or replacement cost amounts and values in Houston

after Harvey; and Defendant Allstate adopted incorrect, incomplete, and/or insufficient methods

of repair as shown in Allstate’s estimates.

18.    As such, Plaintiff made several attempts to obtain a proper assessment and evaluation of

the claim and flood damage, Plaintiff submitted to Allstate her sworn proof of loss with documents

and photographs in support of the claim, damages, and amounts owed by Allstate under the Policy.


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Plaintiff provided Allstate with: (1) additional representative photographs showing the condition

of the property after the flood; and (2) a detailed estimate for the necessary repairs and replacement

of Plaintiff’s flood damaged Property; and a Contents Inventory among other items.

19.    Thereafter, Plaintiff received a letter from Allstate stating that Plaintiff’s sworn proof of

loss was denied, and no additional payment would be tendered by Allstate.

20.    Plaintiff suffered losses by and from the flood waters fiercely penetrating the insured

Property/building and Contents, and Plaintiff has incurred and/or will incur significant expenses

to repair and replace its flood-damaged Property.

                           Defendant Allstate’s Duties & Obligations

21.    As stated above, the Federal Emergency Management Agency (“FEMA”) and/or the

National Flood Insurance Program (“NFIP”) (collectively referred to as “FEMA/NFIP”) enter into

arrangements (the “Arrangement”) with private insurance companies, also known as Write Your

Own (WYO) Companies such as Defendant Allstate, to administer FEMA/NFIP flood insurance

policies, and adjust and pay claims accordingly as required. See Exhibit A, pp. 3—4. Art. II.F.

22.    As part of the WYO Companies Arrangement with the FEMA/NFIP, the WYO

Companies, like Allstate, agree to adjust claims in accordance with their company claims handling

standards and practices, as well as “with written standards, procedures, and guidance issued by

FEMA or FIA relating to the NFIP and applicable Company.” See id., p. 4, Art. G.1; see also, 44

C.F.R. Section 62.23(i). Further, the WYO Company’s claims department should verify “the

correctness of the coverage interpretations and reasonableness of the payments recommended by

the adjusters” by using its own “normal catastrophe claims procedures…[as] implemented in the

event of a claim catastrophe situation.” Id.

23.    The WYO Companies and their agents get reimbursed from federal Treasury funds upon


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presentment of a simple invoice for services related to their handling of a flood insurance claim.

Homeowners and businessowners throughout our country, like Plaintiff here, who are already

victims of catastrophic weather events like Hurricane Harvey, are taken advantage of and become

victims a second time under this flood insurance scheme. These victims have limited recourse, if

any at all. Here, Plaintiff Wilma Ormsby took significant steps in attempt to receive adequate

compensation for its flood damages from her flood insurance carrier Defendant Allstate. Despite

Plaintiff’s attempts to be made whole, Defendant Allstate, its adjuster(s) and personnel failed to

follow the policies, procedures, rules, and guidelines necessary when evaluating a flood insurance

claim like Plaintiff’s. Defendant Allstate’s failure to fully comply with the well-established

standards, extensive rules, regulations, and laws that govern it resulted in an improper handling of

Plaintiff’s claim and insufficient payment on Plaintiff’s valid flood claim.

24.     As part of its Arrangement with the FEMA/NFIP, Defendant Allstate sold and issued a

Standard Flood Insurance Policy (the “Policy”) to Plaintiff to insure its Property and Contents

located at the address shown above against physical damage by or from a flood event. There is no

question as to the Policy being in full force and effect on the date of the incident referred to herein.

There is also no question that Plaintiff paid all insurance premiums when due and complied with

all conditions precedent.

25.     Defendant Allstate unjustifiably failed and/or refused to perform its obligations under the

Policy and wrongfully denied and/or unfairly underpaid or limited the payment on Plaintiff Wilma

Ormsby’s claim. Defendant Allstate has unfairly persisted in improperly underpaying the claim

despite being provided with extensive evidence as to the actual amount of damages incurred, and

the necessary repair and replacement amounts.




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                                      CLAIM FOR RELIEF
                                   BREACH OF CONTRACT
26.    Plaintiff repeats, reiterates and re-alleges each and every allegation set forth in the

paragraphs above as if fully set forth herein.

27.    Plaintiff Wilma Ormsby and Defendant Allstate entered into a contract when Plaintiff

Ormsby purchased, and Defendant Allstate issued the flood insurance Policy.

28.    The Policy, at all times relevant and material to this case, provided flood insurance

coverage to Plaintiff Wilma Ormsby for, among other things, direct physical damage caused by

flood to Plaintiff’s Property and Contents located at the address ascribed above.

29.    Plaintiff fully performed under the contract by paying all premiums when due and

cooperating with Defendant Allstate regarding Plaintiff’s claim. Plaintiff complied with all

conditions precedent to Plaintiff’s recovery herein, including appropriate and adequate demands,

or Defendant Allstate waived or excused such conditions precedent.

30.    Defendant Allstate failed to perform and materially breached the insurance contract when:

(1) Defendant Allstate’s estimate and payment did not include or detail the full scope of covered

flood damages and necessary repairs; (2) Defendant Allstate adopted an estimate that used

incorrect and/or inadequate pricing, which did not accurately reflect the repair or replacement cost

amounts and values in Houston after Harvey; (3) Defendant Allstate failed to follow and

implement the proper procedures, rules, laws, regulations, and guidelines in its assessment and

valuation of Plaintiff’s flood damage; and (4) Defendant Allstate undervalued Plaintiff’s damages,

omitted payment for covered damages, and thereby underpaid Plaintiff’s claim by the amount it

owed Plaintiff Wilma Ormsby for flood damages to her Property and Contents.

31.    Plaintiff reserves the right to seek leave of the Court to amend this Complaint at any such

time as it may ascertain other acts and omissions actionable as breaches of the duty of good faith

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and fair dealing, or otherwise.

32.    By virtue of its various breaches of contract, including its failure to fully reimburse

Plaintiff for the covered losses, Defendant Allstate is liable to and owes Plaintiff for the actual

damages Plaintiff sustained as a foreseeable and direct result of the breach, all costs associated

with recovering, repairing and/or replacing the covered property, together with interest and all

other damages Plaintiff may prove as allowed by law.

                                  CONDITIONS PRECEDENT

       Plaintiff has satisfied all conditions precedent for bringing this action.

                                             PRAYER

        WHEREFORE, the Plaintiff Wilma Ormsby respectfully requests Defendant to answer

 herein and that the Court enter judgment in Plaintiff’s favor for such amount of damages as

 Plaintiff may prove at trial as provided by law, and other and further relief the Court may deem

 just and proper.


                                                       Respectfully Submitted,

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